
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-06-025-CV



FORT WORTH &amp; WESTERN	APPELLANTS

RAILROAD AND CEN-TEX RURAL

RAIL TRANSPORTATION DISTRICT



V.



PEREGRINE PIPELINE COMPANY, L.P.	APPELLEE



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FROM THE 355
TH
 DISTRICT 
COURT OF HOOD COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellants’ “Motion For Voluntary Dismissal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by the party incurring the same, for which let execution issue.

PER CURIAM

PANEL D:	MCCOY, J.; CAYCE, C.J.; and LIVINGSTON, J.



DELIVERED: March 16, 2006

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




